Case 2:15-cr-OOOl4-APG-VCF Document 1 Filed 01/20/15 Page 1 of 3

SEALED

Ofi“lce of the United States Attorney
District of Nevada

333 Las Vegas Blvd., South, Ste. 5000
Las Vegas, Nevada 89101

(702) 388-6336

\OOO\]O'\U`I-I>L)J[\)'_‘

[\) [\) [\) I\.) {\) [\)v[\) [\) [\) )-1 >-1 )-* >--l »-1 )-1 r-¢ >-¢ »-¢ >-¢
OO\IO\L/`l-PWN’_‘O\QOO\]O\{JI-PW[\)*_‘O

 

 

CaS€ 2215-Cr-OOOl4-APG-VCF DOCUm€n'[ l Filed 01/20/15 Page 2 Of 3

 

____FlLED ____RECE|VED
_____ENTF.RED ____SERVED ON
_ COUNSE|./PART|ES OF RECORD

 

DAN|EL G. BOGDEN
United States Attorney JAN 2 g 2015
ALEXANDRA l\/llCH_AEL
Assistant United States Attorney
333 Las Vegas B|vd. South, Suite 5000 cL%T§TlijtlSc?|§;Rr|l(g//$g/PRT

Las Vegas, Nevada 89101 BY; DEPUTY
PHONE: (702) 388-6370

FAX: (702) 388-6418

Attorneys for the Plaintiff

 

 

 

 

 

 

_ UN|TED STATES D|STR|CT COURT
D|STR|CT OF NEVADA
-oOo-

UN|TED STATES QF AI\/|ER|CA, SEALED CR|M|NAL |ND|CTMENT

)
PLA|NT|FF, § 2;15-cR- /Z
vs. § VlOl_AT|ON:
Ol\/lAR QAZ|, § 18 U.S.C. §§ 922(g)(1), 924(a)(2)
_ ) Felon in Possession of a Firearm
DEFENDANT. § `

 

THE GRAND JURY CHARGES THAT:
On or about January 6, 2015, in the State and Federal District of Nevada,
OMAR QAZ|
defendant herein, having been convicted of a crime punishable by imprisonment for a term
exceeding one year, to Wit: (1) a 2012 conviction, in the State of Nevada, for Battery With
Substantial Bodily Harm, did knowingly possess a firearm, to Wit: a Smith & Wesson .22
caliber firearm bearing Serial Number M37231, said possession being in and affecting

interstate commerce and said firearm having been shipped and transported in interstate

 

\OOC\]O\U\-J>L)JN

10
11
12
13

1¢"'

15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:15-cr-OOOl4-APG-VCF roument 1 Filed 01/20/15 Page 3 of 3

commerce, all in violation of Title 18, United States Code, Sections 922(9)(1) and Section

924(3)(2).

DATE.D: this 20th day of January, 2015.

A TRUE B|LL:

/S/
FOREPERSON OF THE GRAND JURY

DAN|EL G. BOGDEN
United States Attorney

|`\
ALEXANDRA l\/llCHAEL
Assistant United States Attorney

 

 

 

